Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 1 of 19



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO.

  SPECIALIZED BICYCLE COMPONENTS, INC.,

                 Plaintiff,

  vs.

  THE INDIVIDUALS, PARTNERSHIPS,
  AND UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”,

                 Defendants.
                                                         /

                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiff Specialized Bicycle Components, Inc. (“Plaintiff”) hereby sues Defendants, the

  Individuals, Partnerships, and Unincorporated Associations identified on Schedule “A” hereto

  (collectively “Defendants”). Defendants are promoting, selling, offering for sale and distributing

  goods using counterfeits and confusingly similar imitations of Plaintiff’s trademarks within this

  district through various Internet based e-commerce stores using the seller identities set forth on

  Schedule “A” hereto (the “Seller IDs”). In support of its claims, Plaintiff alleges as follows:

                                   JURISDICTION AND VENUE

         1.      This is an action for federal trademark counterfeiting and infringement, false

  designation of origin, common law unfair competition, and common law trademark infringement

  pursuant to 15 U.S.C. §§ 1114, 1116, and 1125(a), and The All Writs Act, 28 U.S.C. § 1651(a).

  Accordingly, this Court has subject matter jurisdiction over this action pursuant to 15 U.S.C. §

  1121 and 28 U.S.C. §§ 1331 and 1338. This Court has supplemental jurisdiction pursuant to 28

  U.S.C. § 1367 over Plaintiff’s state law claims because those claims are so related to the federal

  claims that they form part of the same case or controversy.
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 2 of 19



          2.      Defendants are subject to personal jurisdiction in this district, because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including within the State of Florida and this district through at least the Internet based e-

  commerce stores accessible in Florida and operating under their Seller IDs.

          3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, aliens who are engaged in infringing activities and causing harm

  within this district by advertising, offering to sell, and/or selling infringing products into this

  district.

                                           THE PLAINTIFF

          4.      Plaintiff is a California corporation with its principal place of business in Morgan

  Hill, California. Plaintiff designs, markets, and distributes high-end bicycles, cycling accessories,

  and apparel, throughout the world, including this district, under multiple world famous common

  law and federally registered trademarks, as discussed in Paragraph 14 below, and identified in

  Schedule “B” hereto. Plaintiff’s trademarked goods are sold through authorized retail locations

  within the State of Florida, including this district. Defendants, through the sale and offer to sell

  counterfeit and infringing Specialized branded products, are directly, and unfairly, competing

  with Plaintiff’s economic interests in the State of Florida and causing Plaintiff harm within this

  jurisdiction.

          5.      Like many other famous trademark owners, Plaintiff suffers ongoing daily and

  sustained violations of its trademark rights at the hands of counterfeiters and infringers, such as

  Defendants herein, who wrongfully reproduce and counterfeit Plaintiff’s trademarks for the twin

  purposes of (i) duping and confusing the consuming public and (ii) earning substantial profits.

  The natural and intended byproduct of Defendants’ actions is the erosion and destruction of the




                                                     2
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 3 of 19



  goodwill associated with Plaintiff’s trademarks, as well as the destruction of the legitimate

  market sector in which it operates.

           6.     In order to combat the indivisible harm caused by the combined actions of

  Defendants and others engaging in similar conduct, each year Plaintiff expends significant

  amounts of money in connection with trademark enforcement efforts, including legal fees,

  investigative fees, and support mechanisms for law enforcement. The recent explosion of

  counterfeiting over the Internet has created an environment that requires companies to expend

  significant time and money across a wide spectrum of efforts in order to protect both consumers

  and itself from the ill effects of confusion and the erosion of the goodwill connected to Plaintiff’s

  brand.

                                         THE DEFENDANTS

           7.     Defendants are individuals and/or business entities of unknown makeup, each of

  whom, upon information and belief, either reside or operate in foreign jurisdictions with lax

  trademark enforcement systems, or redistribute products from the same or similar sources in

  those locations. Defendants have the capacity to be sued pursuant to Federal Rule of Civil

  Procedure 17(b). Defendants target their business activities towards consumers throughout the

  United States, including within this district through the operation of, at least, the fully interactive

  commercial Internet based e-commerce store via the Internet marketplace websites, eBay.com,

  AliEpress.com, and Wish.com, under the Seller IDs.

           8.     Defendants are the past and present controlling forces behind the sale of the

  products under counterfeits and infringments Plaintiff’s trademarks as described herein using at

  least the Seller IDs.




                                                     3
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 4 of 19



          9.      Upon information and belief, Defendants directly engage in unfair competition by

  advertising, offering for sale, and selling goods bearing one or more of Plaintiff’s trademarks to

  consumers within the United States and this district through Internet based e-commerce stores

  using, at least, the Seller IDs and additional names or seller identification aliases not yet known

  to Plaintiff. Defendants have purposefully directed some portion of their illegal activities towards

  consumers in the State of Florida through the advertisement, offer to sell, sale, and/or shipment

  of counterfeit Specialized goods into the State.

          10.     Defendants have registered, established or purchased, and maintained their Seller

  IDs. Upon information and belief, Defendants have engaged in fraudulent conduct with respect

  to the registration of the Seller IDs by providing false and/or misleading information to the

  Internet based e-commerce platforms where they sell during the registration or maintenance

  process related to their respective Seller IDs. Upon information and belief, Defendants have

  anonymously registered and maintained some of the Seller IDs for the sole purpose of engaging

  in illegal counterfeiting activities.

          11.     Upon information and belief, Defendants will continue to register or acquire new

  seller identification aliases for the purpose of selling and offering for sale goods bearing

  counterfeit and confusingly similar imitations of Plaintiff’s trademarks unless preliminarily and

  permanently enjoined.

          12.     Defendants’ Internet-based businesses amount to nothing more than illegal

  operations established and operated in order to infringe the intellectual property rights of

  Plaintiff and others.

          13.     Defendants’ business names, i.e., the Seller IDs, associated payment accounts,

  and any other alias seller identification names used in connection with the sale of counterfeit and




                                                     4
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 5 of 19



  infringing goods bearing Plaintiff’s trademarks are essential components of Defendants’ online

  activities and are one of the means by which Defendants further their counterfeiting and

  infringing scheme and cause harm to Plaintiff. Moreover, Defendants are using Plaintiff’s

  famous trademarks to drive Internet consumer traffic to their e-commerce stores operating under

  the Seller IDs, thereby increasing the value of the Seller IDs and decreasing the size and value of

  Plaintiff’s legitimate marketplace and intellectual property rights at Plaintiff’s expense.

                             COMMON FACTUAL ALLEGATIONS

         Plaintiff’s Business and Trademark Rights

         14.     Plaintiff is the owner of the trademarks identified on Schedule “B” hereto, which

  are valid and registered on the Principal Register of the United States Patent and Trademark

  Office (collectively the “Specialized Marks”): The registrations for the Specialized Marks

  constitute presumptive evidence of their ownership and validity, and the registrations are

  incontestable and therefore constitute conclusive evidence of such rights. The Specialized Marks

  are used in connection with the design, marketing, and distribution of high quality goods in the

  categories identified above. True and correct copies of the Federal Registrations for the

  Specialized Marks are attached hereto as Composite Exhibit 1.

         15.     The Specialized Marks have been used in interstate commerce to identify and

  distinguish Plaintiff’s high quality goods, including bicycles, cycling accessories, and apparel,

  for an extended period of time.

         16.     The Specialized Marks are well-known and famous and have been for many

  years. Plaintiff has expended substantial time, money, and other resources developing,

  advertising, and otherwise promoting the Specialized Marks and products bearing the




                                                    5
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 6 of 19



  Specialized Marks. The Specialized Marks qualify as famous marks as that term is used in 15

  U.S.C. §1125(c)(1).

         17.     Plaintiff has extensively used, advertised, and promoted the Specialized Marks in

  the United States in association with the sale of high quality bicycles, cycling accessories,

  apparel, and other goods.

         18.     As a result of Plaintiff’s efforts, members of the consuming public readily identify

  merchandise bearing or sold under the Specialized Marks as being high quality goods sponsored

  and approved by Plaintiff.

         19.     The Specialized Marks serve as symbols of Plaintiff’s quality, reputation, and

  goodwill and have never been abandoned.

         20.     The Specialized Marks have never been assigned or licensed to any Defendant in

  this matter.

         21.     Genuine goods bearing the Specialized Marks are widely advertised and promoted

  by Plaintiff, its authorized distributors and unrelated third parties via the Internet. Over the

  course of the past ten years, visibility on the Internet, particularly via Internet search engines

  such as Google, Yahoo!, and Bing has become increasingly important to Plaintiff’s overall

  marketing and consumer education efforts. Thus, Plaintiff expends significant monetary

  resources on Internet marketing and consumer education, including search engine optimization

  (“SEO”) strategies. Those strategies allow Plaintiff and its authorized retailers to fairly and

  legitimately educate consumers about the value associated with the Specialized Marks and the

  goods sold thereunder.




                                                    6
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 7 of 19



         Defendants’ Infringing Activities

         22.     Upon information and belief, Defendants are promoting and advertising,

  distributing, selling, and/or offering for sale counterfeit goods in interstate commerce using exact

  copies of the Specialized Marks (collectively, the “Counterfeit Goods”) through at least the

  Internet based e-commerce stores operating under the Seller IDs. Plaintiff has used the

  Specialized Marks extensively and continuously before Defendants began offering counterfeit

  and confusingly similar imitations of Plaintiff’s merchandise.

         23.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

  substantially different than that of Plaintiff’s genuine goods. Defendants, upon information and

  belief, are actively using, promoting and otherwise advertising, distributing, selling and/or

  offering for sale substantial quantities of their Counterfeit Goods with the knowledge and intent

  that such goods will be mistaken for the genuine high quality goods offered for sale by Plaintiff

  under the Specialized Marks despite Defendants’ knowledge that they are without authority to

  use the Specialized Marks. The net effect of Defendants’ actions will cause confusion of

  consumers, at the time of initial interest, sale, and in the post-sale setting, who will believe

  Defendants’ Counterfeit Goods are genuine goods originating from, associated with, and

  approved by Plaintiff.

         24.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

  e-commerce stores on an Internet marketplace website using at least the Seller IDs. In so

  advertising these goods, Defendants use the Specialized Marks without Plaintiff’s permission.

         25.     As part of their overall infringement and counterfeiting scheme, Defendants are,

  upon information and belief, all employing substantially similar, paid advertising and marketing

  strategies based, in large measure, upon an illegal use of counterfeits and infringements of the




                                                    7
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 8 of 19



  Specialized Marks. Specifically, Defendants are using counterfeits of Plaintiff’s famous

  Specialized Marks in order to make their e-commerce stores selling illegal goods appear more

  relevant, authentic, and attractive to consumers online. By their actions, Defendants have created

  an illegal marketplace operating in parallel to the legitimate marketplace for Plaintiff’s genuine

  goods. Defendants are causing concurrent and indivisible harm to Plaintiff and the consuming

  public by (i) depriving Plaintiff and other third parties of their right to fairly compete for space

  within search engine results and reducing the visibility of Plaintiff’s genuine goods on the World

  Wide Web, (ii) causing an overall degradation of the goodwill associated with the Specialized

  Marks, and (iii) increasing Plaintiff’s overall cost to market the Specialized Marks and educate

  consumers about its brand via the Internet.

         26.     Upon information and belief, Defendants are concurrently targeting their

  counterfeiting and infringing activities toward consumers and causing harm within this district

  and elsewhere throughout the United States. As a result, Defendants are defrauding Plaintiff and

  the consuming public for Defendants’ own benefit.

         27.     Upon information and belief, at all times relevant hereto, Defendants in this action

  had full knowledge of Plaintiff’s ownership of the Specialized Marks, including its exclusive

  right to use and license such intellectual property and the goodwill associated therewith.

         28.     Defendants’ use of the Specialized Marks, including the promotion and

  advertisement, reproduction, distribution, sale and offering for sale of their Counterfeit Goods, is

  without Plaintiff’s consent or authorization.

         29.     Further, Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Plaintiff’s rights for the purpose of trading on Plaintiff’s goodwill and reputation. If Defendants’




                                                    8
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 9 of 19



  intentional counterfeiting and infringing activities are not preliminarily and permanently

  enjoined by this Court, Plaintiff and the consuming public will continue to be harmed.

          30.     Defendants’ above identified infringing activities are likely to cause confusion,

  deception, and mistake in the minds of consumers, the public, and the trade before, during and

  after the time of purchase. Moreover, Defendants’ wrongful conduct is likely to create a false

  impression and deceive customers, the public, and the trade into believing there is a connection

  or association between Plaintiff’s genuine goods and Defendants’ Counterfeit Goods, which

  there is not.

          31.     Further, upon information and belief, Defendants are likely to transfer or secret

  their assets to avoid payment of any monetary judgment awarded to Plaintiff.

          32.     Plaintiff has no adequate remedy at law.

          33.     Plaintiff is suffering irreparable and indivisible injury and has suffered substantial

  damages as a result of Defendants’ unauthorized and wrongful use of the Specialized Marks. If

  Defendants’ counterfeiting and infringing and unfairly competitive activities are not

  preliminarily and permanently enjoined by this Court, Plaintiff and the consuming public will

  continue to be harmed.

          34.     The harm and damages sustained by Plaintiff have been directly and proximately

  caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

  sale of their Counterfeit Goods.

           COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
             PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

          35.     Plaintiff hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 34 above.




                                                    9
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 10 of 19



         36.     This is an action for trademark counterfeiting and infringement against

  Defendants based on their use of counterfeit and confusingly similar imitations of the

  Specialized Marks in commerce in connection with the promotion, advertisement, distribution,

  offering for sale, and sale of the Counterfeit Goods.

         37.     Defendants are promoting and otherwise advertising, selling, offering for sale,

  and distributing goods, using counterfeits and/or infringements of one or more of the Specialized

  Marks. Defendants are continuously infringing and inducing others to infringe the Specialized

  Marks by using them to advertise, promote, and sell at least counterfeit and infringing goods.

         38.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

  and actually are causing confusion, mistake, and deception among members of the trade and the

  general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

         39.     Defendants’ unlawful actions have individually and jointly caused and are

  continuing to cause unquantifiable damages to Plaintiff and are unjustly enriching Defendants at

  Plaintiff’s expense.

         40.     Defendants’ above-described illegal actions constitute counterfeiting and

  infringement of the Specialized Marks in violation of Plaintiff’s rights under § 32 of the Lanham

  Act, 15 U.S.C. § 1114.

         41.     Plaintiff has suffered and will continue to suffer irreparable injury and damages

  due to Defendants’ above described activities if Defendants are not preliminarily and

  permanently enjoined.

                  COUNT II - FALSE DESIGNATION OF ORIGIN
            PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

         42.     Plaintiff hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 34 above.



                                                  10
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 11 of 19



          43.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

  the Specialized Marks have been widely advertised and offered for sale throughout the United

  States via at least one Internet marketplace website.

          44.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

  the Specialized Marks are virtually identical in appearance to Plaintiff’s genuine goods.

  However, Defendants’ Counterfeit Goods are different and likely inferior in quality.

  Accordingly, Defendants’ activities are likely to cause confusion in the trade and among the

  general public as to at least the origin or sponsorship of their Counterfeit Goods.

          45.     Defendants, upon information and belief, have used in connection with their

  offering for sale and sale of the Counterfeit Goods, false designations of origin and false

  descriptions and representations, including words or other symbols and trade dress, which tend to

  falsely describe or represent such goods and have caused such goods to enter into commerce

  with full knowledge of the falsity of such designations of origin and such descriptions and

  representations, all to Plaintiff’s detriment.

          46.     Defendants have authorized infringing uses of the Specialized Marks in

  Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.

  Defendants have misrepresented to members of the consuming public that the Counterfeit Goods

  being advertised and sold by them are genuine, non-infringing goods.

          47.     Additionally, Defendants are using counterfeits and infringements of the

  Specialized Marks in order to unfairly compete with Plaintiff and others for space within search

  engine organic results, thereby jointly depriving Plaintiff of a valuable marketing and

  educational tool which would otherwise be available to Plaintiff and reducing the visibility of

  Plaintiff’s genuine goods on the World Wide Web.




                                                   11
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 12 of 19



         48.     Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).

         49.     Plaintiff has no adequate remedy at law, and has sustained indivisible injury and

  damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction by this

  Court, Defendants will continue to wrongfully reap profits and Plaintiff will continue to suffer

  irreparable injury to its goodwill and business reputation, as well as monetary damages.

                        COUNT III - COMMON LAW UNFAIR COMPETITION

         50.     Plaintiff hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 34 above.

         51.     This is an action against Defendants based on their promotion, advertisement,

  distribution, sale, and/or offering for sale of goods using marks that are virtually identical, both

  visually and phonetically, to the Specialized Marks in violation of Florida’s common law of

  unfair competition.

         52.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale and distributing goods using counterfeits and infringements of the Specialized

  Marks. Defendants are also using counterfeits and infringements of the Specialized Marks to

  unfairly compete with Plaintiff and others for (1) space in search engine results across an array of

  search terms and (2) visibility on the World Wide Web.

         53.     Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the trade and the general consuming public

  as to the origin and quality of Defendants’ products by their use of the Specialized Marks.

         54.     Plaintiff has no adequate remedy at law and is suffering irreparable injury and

  damages as a result of Defendants’ actions.




                                                   12
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 13 of 19



                 COUNT IV - COMMON LAW TRADEMARK INFRINGEMENT

           55.    Plaintiff hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 34 above.

           56.    This is an action for common law trademark infringement against Defendants

  based on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods

  bearing the Specialized Marks. Plaintiff is the owner of all common law rights in and to the

  Specialized Marks.

           57.    Specifically, Defendants, upon information and belief, are promoting and

  otherwise advertising, distributing, offering for sale, and selling goods bearing infringements of

  the Specialized Marks.

           58.    Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake, and deception among members of the trade and the general consuming

  public as to the origin and quality of Defendants’ Counterfeit Goods bearing the Specialized

  Marks.

           59.    Plaintiff has no adequate remedy at law and is suffering damages and irreparable

  injury as a result of Defendants’ actions.

                                       PRAYER FOR RELIEF

           60.    WHEREFORE, Plaintiff demands judgment on all Counts of this Complaint and

  an award of equitable relief and monetary relief, jointly and severally, against Defendants as

  follows:

                  a.     Entry of temporary, preliminary, and permanent injunctions pursuant to 15

  U.S.C. § 1116 and Federal Rule of Civil Procedure 65, enjoining Defendants, their agents,

  representatives, servants, employees, and all those acting in concert or participation therewith,




                                                   13
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 14 of 19



  from manufacturing or causing to be manufactured, importing, advertising or promoting,

  distributing, selling or offering to sell their Counterfeit Goods; from infringing, counterfeiting, or

  diluting the Specialized Marks; from using the Specialized Marks, or any mark or trade dress

  similar thereto, in connection with the sale of any unauthorized goods; from using any logo,

  trade name or trademark or trade dress that may be calculated to falsely advertise the services or

  products of Defendants as being sponsored by, authorized by, endorsed by, or in any way

  associated with Plaintiff; from falsely representing themselves as being connected with Plaintiff,

  through sponsorship or association, or engaging in any act that is likely to falsely cause members

  of the trade and/or of the purchasing public to believe any goods or services of Defendants are in

  any way endorsed by, approved by, and/or associated with Plaintiff; from using any

  reproduction, counterfeit, copy, or colorable imitation of the Specialized Marks in connection

  with the publicity, promotion, sale, or advertising of any goods sold by Defendants; from

  affixing, applying, annexing or using in connection with the sale of any goods, a false description

  or representation, including words or other symbols tending to falsely describe or represent

  Defendants’ goods as being those of Plaintiff, or in any way endorsed by Plaintiff and from

  offering such goods in commerce; from engaging in search engine optimization strategies using

  colorable imitations of Plaintiff’s trademarks; and from otherwise unfairly competing with

  Plaintiff.

                 b.      Entry of an order requiring the Seller IDs, and any other alias seller

  identification names being used and/or controlled by Defendants to engage in the business of

  marketing, offering to sell, and/or selling goods bearing counterfeits and infringements of the

  Specialized Marks be disabled by the applicable governing Internet marketplace website.




                                                   14
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 15 of 19



                 c.      Entry of an order that, upon Plaintiff’s request, any Internet marketplace

  website operators and/or administrators who are provided with notice of the injunction, including

  but not limited to eBay.com, AliExpress.com, and Wish.com, cease facilitating access to any or

  all e-commerce stores through which Defendants engage in the promotion, offering for sale

  and/or sale of goods bearing counterfeits and/or infringements of the Specialized Marks.

                 d.      Entry of an order requiring Defendants to account to and pay Plaintiff for

  all profits and damages resulting from Defendants’ trademark counterfeiting and infringing and

  unfairly competitive activities and that the award to Plaintiff be trebled, as provided for under 15

  U.S.C. §1117, or, at Plaintiff’s election with respect to Count I, that Plaintiff be awarded

  statutory damages from each Defendant in the amount of two million dollars ($2,000,000.00) per

  each counterfeit trademark used and product sold, as provided by 15 U.S.C. §1117(c)(2) of the

  Lanham Act.

                 e.      Entry of an award of Plaintiff’s costs and reasonable attorneys’ fees and

  investigative fees associated with bringing this action.

                 f.      Entry of an order that, upon Plaintiff’s request, any financial institutions,

  payment processors, banks, escrow services, money transmitters, or marketplace platforms,

  including but not limited to, PayPal, Inc, Alibaba.com Hong Kong Limited and Alipay.com Co.,

  Ltd., Wish.com, and their related companies and affiliates, identify and restrain all funds, up to

  and including the total amount of judgment, in all financial accounts and/or sub-accounts used in

  connection with the Seller IDs or other alias seller identification or e-commerce store names used

  by Defendants presently or in the future, as well as any other related accounts of the same

  customer(s) and any other accounts which transfer funds into the same financial institution




                                                   15
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 16 of 19



  account(s), to be surrendered to Plaintiff in partial satisfaction of the monetary judgment entered

  herein.

                 g.      Entry of an award of pre-judgment interest on the judgment amount.

                 h.      Entry of an Order for any further relief as the Court may deem just and

  proper.

  DATED: November 17, 2016.                     Respectfully submitted,

                                                STEPHEN M. GAFFIGAN, P.A.

                                                By: s:/Stephen M. Gaffigan/______________
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                                                Attorneys for Plaintiff,
                                                Specialized Bicycle Components, Inc.




                                                  16
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 17 of 19



                               SCHEDULE A
                    DEFENDANTS BY NUMBER AND SELLER ID

              Defendant
                                       Defendant / Seller ID
               Number
                   1      in-style1820
                   1      sanshang2012
                   2      2101272
                   3      7849663
                   4      1-cn592
                   5      3cn9686
                   6      4cn5918
                   7      4hk-5c4uno
                   7      anglerwang1
                   8      ahhenryhenry
                   9      arrows-maker
                  10      cn_6695
                  11      cnji_4zrqnkg
                  12      cnsrate
                  13      dan090691
                  14      ebcaman
                  15      fashion_dress8
                  16      gahi9726
                  17      handmadebow
                  17      wanwan565
                  18      hansey2013
                  19      harbor424
                  20      hkfny
                  21      houcn-ulyas
                  22      hxiaowe_0
                  23      kantiya2524
                  24      longbowmaker888
                  25      n32938720panxi4
                  26      olivwon0
                  27      sunny_xj
                  28      supplyeach2015
                  29      supplyworld15
                  30      sztouchworld


                                       17
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 18 of 19



                 31       todo10ciclismo
                 32       wanderer-stores
                 33       zhangwei1411
                 34       2016 cycling custom shop
                 35       Ant Sports
                 36       Brand cycling jerseys shop
                 37       Custom cycling clothing factory
                 38       Fluorescent yellow Series: bicycle clothes shop
                 39       Hao - 008.
                 39       Professional bicycle clothing manufacturing trade co.,
                 40       Living ShenGe World
                 41       P Q SKY outdoor sports Ltd.
                 42       Piao Qi riding Trade Co., Ltd.
                 43       Professional Sports Equipment Mall
                 44       ssqqqqqq
                 45       Starting Point
                 46       Xvertex cycling store
                 47       9 City
                 48       Cycling jersey
                 49       cycling wear 201
                 50       Fashion body international
                 51       linyi chunyuan trade Co., Ltd.
                 52       Pro Cycling Clothing Store
                 53       Pro cycling jersey
                 54       Riding company
                 55       siweida
                 56       SportClub




                                          18
Case 0:16-cv-62711-CMA Document 1 Entered on FLSD Docket 11/17/2016 Page 19 of 19



                               SCHEDULE “B”
              PLAINTIFF’S FEDERALLY REGISTERED TRADEMARKS

                    Registration    Registration
     Trademark                                                    Class / Goods
                     Number            Date
                                                     IC 012; bicycle components and
                                     January 14,     accessories; namely, tires, cables, tubes,
    SPECIALIZED      1,378,009
                                        1986         cable housings, handle bars, stems,
                                                     frames, stayguards.

                                    December 6,      IC 025; bicyclists’ shoes and clothings,
                     1,515,498
                                       1988          namely shorts, socks, and jerseys.


      S-WORKS        2,940,114     April 12, 2005 IC 012; bicycles and bicycle frames.

                                                 IC 012; bicycles, and bicycle parts and
                                                 accessories, namely, bicycle frames,
                                                 bicycle pumps, inner tubes, tires,
                                    December 12,
                     3,183,096                   saddles, handlebar grips, handlebar
                                       2006
                                                 safety pads, handlebars, handlebar tape,
                                                 brake levers, handlebar stems, seat posts,
                                                 and water bottle cages.

                     3,988,743       July 5, 2011    IC 025; bicycle gloves.

                                                     IC 009; protective body armor.
                                                   IC 025; clothing, namely, shirts, t-shirts,
                     3,989,153      July 5, 2011 tops, base layers, jackets, jerseys, shorts,
                                                   padded shorts, pants, sweat pants, tights,
                                                   vests, socks, arm warmers, knee
                                                   warmers, headwear, and footwear.
                                                   IC 025; clothing, namely, footwear,
                                                   shirts, t-shirts, tops, socks, jackets, base
                                                   layers, shorts, padded shorts, pants,
                     4,019,602     August 30, 2011 sweat pants, tights, vests, arm warmers,
                                                   knee warmers, headwear, gloves,
                                                   namely, cycling gloves and outdoor
                                                   gloves.




                                           19
